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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7        HUMU, INC.,                                        Case No. 19-cv-00327-HSG
                                                          Plaintiff,
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                                                                                               ORDER DENYING MOTION TO
                                                   v.                                          DISMISS
                                   9

                                  10        HULU, LLC,                                         Re: Dkt. No. 30
                                                          Defendant.
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                                  12
Northern District of California
 United States District Court




                                  13            On January 18, 2019, Plaintiff Humu, Inc. (“Humu”) brought suit against Defendant Hulu,

                                  14   LLC (“Hulu”) seeking declaratory judgments of: (1) no likelihood of confusion, trademark

                                  15   infringement, or unfair competition; and (2) no dilution. Dkt. No. 1. Defendant subsequently

                                  16   provided Plaintiff a covenant not to sue, after which Plaintiff filed an amended complaint. See

                                  17   Dkt. Nos. 30-1 Ex. 2 (“Covenant”), 25 (“FAC”).

                                  18            Pending before the Court is Defendant’s motion to dismiss Plaintiff’s amended complaint,

                                  19   briefing for which is complete. See Dkt. Nos. 30 (“Mot.”), 43 (“Opp.”), 44 (“Reply”). Defendant

                                  20   contends that the Court lacks jurisdiction in light of Defendant’s provision of a covenant not to

                                  21   sue. The Court finds the disputed covenant does not deprive this Court of jurisdiction and thus

                                  22   DENIES Defendant’s motion.

                                  23   I.       LEGAL STANDARD
                                  24            Article III of the Constitution limits the jurisdiction of the federal courts to actual “cases”

                                  25   and “controversies.” U.S. Const. art. III, § 2. And “[t]he rule in federal cases is that an actual

                                  26   controversy must be extant at all stages of review, not merely at the time the complaint is filed.”

                                  27   Steffel v. Thompson, 415 U.S. 452, 459 n.10 (1974). “A case becomes moot—and therefore no

                                  28   longer a ‘Case’ or ‘Controversy’ for purposes of Article III—‘when the issues presented are no
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                                   1   longer “live” or the parties lack a legally cognizable interest in the outcome.’” Already, LLC v.

                                   2   Nike, Inc., 568 U.S. 85, 91 (2013) (quoting Murphy v. Hunt, 455 U.S. 478, 481 (1982) (per

                                   3   curiam)). A defendant, however, “cannot automatically moot a case simply by ending its unlawful

                                   4   conduct once sued.” Id. The measure for when voluntary cessation deprives the tribunal of power

                                   5   to hear and determine a case is whether the defendant has carried its “formidable burden of

                                   6   showing that it is absolutely clear the allegedly wrongful behavior could not reasonably be

                                   7   expected to recur.” Id. (quoting Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc.,

                                   8   528 U.S. 167, 189 (2000)). As concerns a covenant not to sue, courts consider, “in addition to

                                   9   other factors: (1) the language of the covenant, (2) whether the covenant covers future, as well as

                                  10   past, activity and products, and (3) evidence of intention or lack of intention, on the part of the

                                  11   party asserting jurisdiction, to engage in new activity or to develop new potentially infringing

                                  12   products that arguably are not covered by the covenant.” ChromaDex, Inc. v. Elysium Health,
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                                  13   Inc., No. SACV 16-02277-CJC(DFMx), 2017 WL 7080237 (C.D. Cal. Nov. 28, 2017) (quoting

                                  14   Nike, Inc. v. Already, LLC, 663 F.3d 89, 96 (2d Cir.), aff’d 568 U.S. 85 (2013)).

                                  15   II.      DISCUSSION
                                  16            The parties dispute turns on whether Defendant’s covenant not to sue here sufficiently

                                  17   tracks the covenant not to sue provided in Nike, which mooted the actual controversy there.

                                  18   Defendant contends that its proffered covenant “mirrors the covenant that the Supreme Court held

                                  19   mooted the Nike case and thus meets each of the facts identified by the Nike [C]ourt.” Mot. at 8.

                                  20   Most important, Defendant claims that “like the Nike covenant, Hulu agrees to refrain from

                                  21   ‘making any claim(s) or demand(s)’ on account of any possible cause of action based on or

                                  22   involving trademark infringement, unfair competition, or dilution based on Humu’s use of the

                                  23   HUMU mark as alleged in the Original Complaint.” See Mot. at 8. But Defendant

                                  24   mischaracterizes the covenant at issue here. Unlike the covenant in Nike, Defendant’s covenant

                                  25   contains a critical proviso, omitted from Defendant’s just-cited description, and underlined in the

                                  26   following:

                                  27                   Hulu . . . hereby unconditionally and irrevocably covenants to refrain
                                                       from making any claim(s) or demand(s) . . . on account of any
                                  28                   possible cause of action based on or involving trademark
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                                                       infringement, unfair competition, or dilution, under state or federal
                                   1                   law in the United States relating to the Hulu Marks based on Humu’s
                                                       use of the HUMU mark in the manner described in the Complaint in
                                   2                   connection with the Humu Services offered to the Humu Customers,
                                                       or in connection with any other goods or services similar to the Humu
                                   3                   Services marketed directly to the Humu Customers . . . .
                                   4   See Covenant at 1–2 (emphasis added).

                                   5            As is relevant to the pending motion, Defendant articulates its own definitions of “Humu

                                   6   Services” and “Humu Customers” for purposes of the covenant, which Plaintiff maintains do not

                                   7   encompass all of Plaintiff’s existing or imminently planned activities. See id. at 1 (defining the

                                   8   terms “Humu Services” and “Humu Customers”); Opp. at 9–13.1 For example, Defendant’s

                                   9   definition of “Humu Customers” in the covenant encompasses “large business enterprises and

                                  10   organizations interested in implementing researched-based tools to motivate employees across the

                                  11   organization to take small steps to improve employee happiness, which in turn drives high morale

                                  12   and employee retention.” See Covenant at 1. But Plaintiff notes that while it “tends to be retained
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                                  13   by large organizations and employers,” it offers its services to “individual users.” See Opp. at 11–

                                  14   12. Further, the covenant’s limitation to services “marketed directly to the Humu Customers”

                                  15   plausibly does not cover general marketing activities, in which Plaintiff has engaged and intends

                                  16   to continue to engage. See Covenant at 2 (emphasis added); Opp. at 14.

                                  17            The totality of the circumstances shows there remains a controversy for the Court to

                                  18   exercise jurisdiction over Plaintiff’s declaratory judgment claims. Given the critical proviso

                                  19   language, and contrary to Defendant’s arguments, the disputed covenant not to sue differs in

                                  20   material ways from the covenant at issue in Nike, or in any other case the parties identified. Based

                                  21   on the language of the covenant itself, the Court thus cannot conclude that it is “absolutely clear”

                                  22   that Defendant’s covenant eliminated all potential infringement disputes related to Plaintiff’s

                                  23   actual and imminently planned uses of the HUMU mark. See Already, LLC v. Nike, Inc., 568 U.S.

                                  24   at 91.

                                  25   //

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                                         Although Defendant relies on language from the initial complaint for its defined terms, it is not
                                  28   clear that Plaintiff meant for those particular high-level descriptions of its business to be an
                                       exhaustive description of its actual and potential services and customer base.
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                                   1   III.   CONCLUSION

                                   2          Accordingly, the Court DENIES Defendant’s motion.

                                   3          IT IS SO ORDERED.

                                   4   Dated: 7/17/2019

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                                                                                             HAYWOOD S. GILLIAM, JR.
                                   7                                                         United States District Judge
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